 

Case 1:16-cv-02517-AT-RWL Document 7 Filed 06/22/16 Page 1 of 26

 

 

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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Write the full name of each plaintiff.

-against-
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Write the full name of each defendant. If you cannot fit the
names of all of the defendants.in the space provided, please
write “see attached” in the space above and attach an
additional sheet of paper with the full list of names. The
names listed above must be identical to those contained in
Section IV.

1& CV_3aB5i17
(Include case number if one has been
assigned)

AMENDED
COMPLAINT

(Prisoner)

Do you want a jury trial?
[Yes ONo

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NOTICE

The public can access electronic court files. For privacy and security reasons, papers filed
with the court should therefore not contain: an individual's full social security number or full
birth date; the full name of a person known to be a minor; or a complete financial account
number. A filing may include only: the last four digits of a social security number; the year of
an individual's birth; a minor’s initials; and the last four digits of a financial account number.

See Federal Rule of Civil Procedure 5.2.

 

 

Rev. 5/20/16
Case 1:16-cv-02517-AT-RWL Document 7 Filed 06/22/16 Page 2 of 26

I. LEGAL BASIS FOR CLAIM

State below the federal legal basis for your claim, if known. This form is designed primarily for
prisoners challenging the constitutionality of their conditions of confinement; those claims are
often brought under 42 U.S.C. § 1983 (against state, county, or municipal defendants) or in a
“Bivens” action (against federal defendants).

[¥ Violation of my federal constitutional rights
C) Other:
II. PLAINTIFF INFORMATION

 

Each plaintiff must provide the following information. Attach additional pages if necessary.

Reber} 0D Lusch
First Name Middle Initial Last Name

 

_________State-any-other names-or different forms-of your-name)-you have ever-used, including-any name———————
you have used in previously filing a lawsuit.

BYU AIDCS 437
Prisoner ID # (if you have previously been in another agency’s custody, please specify each agency
and the ID number (such as your DIN or NYSID) under which you were held)

 

Monhattan Btlbentan Coane
Current Place of Detention

1aS wlire Sreecey
Institutional Address

 

New Yor NY lec l3
County, City State Zip Code

Ill. PRISONER STATUS

Indicate below whether you are a prisoner or other confined person:

O) Pretrial detainee
C) Civilly committed detainee
OC) Immigration detainee

[Y Convicted and sentenced prisoner
C) Other:

 

Page 2
Case 1:16-cv-02517-AT-RWL Document 7 Filed 06/22/16 Page 3 of 26

IV. DEFENDANT INFORMATION

To the best of your ability, provide the following information for each defendant. If the correct
information is not provided, it could delay or prevent service of the complaint on the defendant.
Make sure that the defendants listed below are identical to those listed in the caption. Attach
additional pages as necessary.

Defendant 1: City CF NCY FORK
First Name Last Name Shield #

 

Current Job Title (or other identifying information)

 

 

 

Current Work Address

County, City State Zip Code
Defendant 2: VDaraewoa chs fAS

First Name Last Name Shield #

 

Current Job Title (or other identifying information)

 

 

 

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Defendant 3: N¢o Htc

First Name Last Name Shield #

 

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Defendant 4: ¥cenct ~hagor

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Page 3
Case 1:16-cv-02517-AT-RWL Document 7 Filed 06/22/16 Page 4 of 26

V. STATEMENT OF CLAIM

Place(s) of occurrence: Betlavwe td/pocce medicetien: Hatiivay Cutside CEP

Date(s) of occurrence: Deccmecy v6 zoids berucen houtS oF BPm and le pm
FACTS:

State here briefly the FACTS that support your case. Describe what happened, how you were
harmed, and how each defendant was personally involved in the alleged wrongful actions. Attach
additional pages as necessary.

 

 

 

 

 

 

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Page 4
Case 1:16-cv-02517-AT-RWL Document 7 Filed 06/22/16 Page 5 of 26

 

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Case 1:16-cv-02517-AT-RWL Document 7 Filed 06/22/16 Page 14 of 26
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INJURIES:

If you were injured as a result of these actions, describe your injuries and what medical treatment,
if any, you required and received.

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VI. RELIEF

State briefly what money damages or other relief you want the court to order.

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Page 5
Case 1:16-cv-02517-AT-RWL Document 7 Filed 06/22/16 Page 25 of 26

VII. PLAINTIFF’S CERTIFICATION AND WARNINGS

By signing below, I certify to the best of my knowledge, information, and belief that: (1) the
complaint is not being presented for an improper purpose (such as to harass, cause unnecessary
delay, or needlessly increase the cost of litigation); (2) the claims are supported by existing law
or by anonfrivolous argument to change existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a
reasonable opportunity for further investigation or discovery; and (4) the complaint otherwise
complies with the requirements of Federal Rule of Civil Procedure 11.

L understand that if I file three or more cases while I am a prisoner that are dismissed as
frivolous, malicious, or for failure to state a claim, I may be denied in forma pauperis status in
future cases.

Ialso understand that prisoners must exhaust administrative procedures before filing an action
in federal court about prison conditions, 42 U.S.C. § 1997e(a), and that my case may be
dismissed if I have not exhausted administrative remedies as required.

I agree to provide the Clerk's Office with any changes to my address. I understand that my
failure to keep a current address on file with the Clerk's Office may result in the dismissal of my
case,

Each Plaintiff must sign and date the complaint. Attach additional pages if necessary. If seeking to
proceed without prepayment of fees, each plaintiff must also submit an IFP application.

6/12-/2.015 ReabecopP—oluecr

 

 

Dated Plaintiff's Signature
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First Name Middle Initial Last Name

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Prison Address

Ncw Fork ny loalS
County, City State Zip Code

Date on which | am delivering this complaint to prison authorities for mailing: é6/\a

Page 6
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